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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION
                            Case No.: 3:11-cv-00242-WC

SUSAN H. BLAKE,

        Plaintiff,
                                                      BANK OF AMERICA, N.A.’S
v.                                                    WITNESS AND EXHIBIT LISTS

BANK OF AMERICA, N.A., et al.,

        Defendant.




        Defendant Bank of America, N.A. (“BANA”), pursuant to the Court’s Uniform

Scheduling Order of July 3, 2012 and Rule 26(a)(3) of the Federal Rules of Civil Procedure,

submits the following Witness and Exhibit Lists:

                                          WITNESSES

1.      Diane    DeLoney,     Assistant   Vice-President/Mortgage    Resolution   Associate,     a

representative of BANA, with knowledge of Plaintiff’s loss mitigation/loan modification history

and BANA’s general loan modification procedures during the relevant time period.               Ms.

DeLoney may be contacted through counsel at the following address:

                Robert A. Muckenfuss, Esq.
                MCGUIREWOODS LLP
                100 North Tryon Street
                Suite 2900
                Charlotte, North Carolina 28202
                Telephone: (704) 343-2000

2.      Plaintiff, Susan H. Blake

3.      Any witness identified by Plaintiff.

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4.         Any witness needed for impeachment or rebuttal of any witness called by Plaintiff.

                                           DEPOSITIONS

None.

           BANA reserves the right to use for rebuttal or impeachment purposes live or deposition

testimony of any witnesses listed by Plaintiff.



                                             EXHIBITS

EXHIBI              DOCUMENT                 BEG. BATES RANGE              END BATES RANGE
 T NO.             DESCRIPTION
     1.      Plaintiff’s Responses to
             Defendant’s Requests for
             Admissions
     2.      Plaintiff’s Responses to
             Defendant’s First
             Interrogatories
     3.      Plaintiff’s Responses to
             Defendant’s First
             Requests for Production
             of Documents
     4.      Defendant’s Responses to
             Plaintiff’s First Set of
             Interrogatories
     5.      Defendant’s Responses to
             Plaintiff’s First Requests
             for Production of
             Documents
     6.      Promissory Note              BOA_BLAKE000001              BOA_BLAKE000003
     7.      Mortgage                     BOA_BLAKE000004              BOA_BLAKE000016
     8.      Uniform Residential Loan     BOA_BLAKE000054              BOA_BLAKE000062
             Application
     9.      Property Appraisal           BOA_BLAKE000086              BOA_BLAKE000102
     10.     Closing Documents            BOA_BLAKE000103              BOA_BLAKE000113
     11.     Closing Documents            BOA_BLAKE000152              BOA_BLAKE000164
     12.     Underwriting and Closing     BOA_BLAKE000280              BOA_BLAKE000513
             Documents
     13.     Loan Payment History         BOA_BLAKE000025              BOA_BLAKE000031
             Statement (through
             September 6, 2012)


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EXHIBI                DOCUMENT                      BEG. BATES RANGE                     END BATES RANGE
 T NO.               DESCRIPTION
      14.     Monthly Home Loan                 Pl. Dep., Def.’s Ex. 15 &
              Statements (April 10,             161
              2009 through December
              31, 2010)
      15.     Monthly Home Loan                 Pl. Dep., Def.’s Ex. 27
              Statements (July 1, 2010
              through December 31,
              2010)
      16.     Misc. Additional Home             Pl. Dep., Def.’s Ex. 27
              Loan Statements (2008,
              2009)
      17.     Transfer of Servicing to          Pl. Dep., Def.’s Ex. 27
              Countrywide (May 3,
              2005)
      18.     Notice of Default and             BOA_BLAKE000548                     BOA_BLAKE000551
              Acceleration (November
              2, 2005)
      19.     Late Payment Notice               BOA_BLAKE001000                     BOA_BLAKE001001
              (September 25, 2006)
      20.     Late Payment Notice               BOA_BLAKE001004                     BOA_BLAKE001004
              (October 2, 2006)
      21.     Late Payment Notice               BOA_BLAKE001005                     BOA_BLAKE001006
              (October 10, 2006)
      22.     Notice of Default and             BOA_BLAKE000017                     BOA_BLAKE000019
              Acceleration (December
              4, 2006)
      23.     Late Payment Notice               BOA_BLAKE001007                     BOA_BLAKE001007
              (December 5, 2006)
      24.     Notice of Default and             BOA_BLAKE000020                     BOA_BLAKE000022
              Acceleration (June 2,
              2008)
      25.     Late Payment Notice               BOA_BLAKE001008                     BOA_BLAKE001008
              (October 3, 2008)
      26.     Notice of Intent to               BOA_BLAKE000023                     BOA_BLAKE000024
              Accelerate (October 3,
              2008)
      27.     Letter from Borrower              BOA_BLAKE000709                     BOA_BLAKE000715
              (December 16, 2008)
      28.     Denial of Modification            BOA_BLAKE001009                     BOA_BLAKE001009
              (December 24, 2008)




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    These references are to documents produced by Plaintiff, and which are not bates labeled.

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EXHIBI           DOCUMENT                 BEG. BATES RANGE              END BATES RANGE
 T NO.          DESCRIPTION
   29.     Countrywide Loan            BOA_BLAKE000276               BOA_BLAKE000279
           Modification Agreement
           (January 31, 2009)
   30.     Notice of Intent to         BOA_BLAKE000169               BOA_BLAKE000171
           Accelerate (February 2,
           2009)
   31.     Late Payment Notice         BOA_BLAKE001010               BOA_BLAKE001010
           (February 3, 2009)
   32.     Letter from                 Pl. Dep., Def.’s Ex.
           Borrower (April             22
           23, 2009)

   33.     Best Interest Rate          Pl. Dep., Def.’s Ex. 9, 10,
           Mortgage Company            11, & 12
           Customer Documents
   34.     Best Interest Rate          BOA_BLAKE000045               BOA_BLAKE000046
           Mortgage Company
           Borrower’s Certificate
           and Authorization
   35.     Plaintiff’s Notes and       Pl. Dep., Def.’s Ex. 27
           Research on Best Interest
           Rate Mortgage Company
   36.     Notice of Intent to         BOA_BLAKE000165               BOA_BLAKE000167
           Accelerate (June 2, 2009)
   37.     SCRA Notice (June 16,       Pl. Dep., Def.’s Ex. 27
           2009)
   38.     Best Interest Rate          BOA_BLAKE000715               BOA_BLAKE000727
           Mortgage Company
           Email (June 27, 2009)
   39.     Confirmation of Grant of    Pl. Dep., Def.’s Ex. 16
           Third-Party Access to
           Account (July 14, 2009)
   40.     Letter to Borrower          BOA_BLAKE001014               BOA_BLAKE001015
           Describing Home
           Affordable Modification
           Program (March 8, 2010)
   41.     Letter to Borrower          BOA_BLAKE000273               BOA_BLAKE000275
           Describing Home
           Affordable Modification
           Program (June 14, 2010)
   42.     Making Home Affordable      BOA_BLAKE000257               BOA_BLAKE000263
           Request for Modification
           and Affidavit (June 24,
           2010)

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EXHIBI           DOCUMENT                BEG. BATES RANGE          END BATES RANGE
 T NO.          DESCRIPTION
   43.     Letter from Borrower       BOA_BLAKE000032           BOA_BLAKE000037
           (June 28, 2010)
   44.     Notice to Borrower         BOA_BLAKE000181           BOA_BLAKE000182
           Regarding Incomplete
           Modification Application
           (July 19, 2010)
   45.     Letter from Borrower       BOA_BLAKE000186           BOA_BLAKE000194
           (July 19, 2010)
   46.     Letter from Borrower       BOA_BLAKE000217           BOA_BLAKE000226
           (July 23, 2010)
   47.     Notice to Borrower         BOA_BLAKE000183           BOA_BLAKE000185
           Regarding Incomplete
           Modification Application
           (October 29, 2010)
   48.     Notice to Borrower         BOA_BLAKE000180           BOA_BLAKE000180
           Regarding Completion of
           Modification Application
           (November 5, 2010)
   49.     SCRA Notice (December      Pl. Dep., Def.’s Ex. 27
           3, 2010)
   50.     Denial of Loan             BOA_BLAKE000046           BOA_BLAKE000048
           Modification (January 7,
           2011)
   51.     Foreclosure Notice         BOA_BLAKE001016           BOA_BLAKE001017
           (January 31, 2011)
   52.     HAFA Short-Sale Notice     Pl. Dep., Def.’s Ex. 27
           (January 31, 2011)
   53.     HAFA Short-Sale Denial     Pl. Dep., Def.’s Ex. 27
           Letter (February 14,
           2011)
   54.     Fee Disclosure Letter      BOA_BLAKE001017           BOA_BLAKE001017
           (March 13, 2011)
   55.     Assignment of Mortgage     BOA_BLAKE001036           BOA_BLAKE001036
           to BNY Mellon (April 19,
           2011)
   56.     Foreclosure Report (June   BOA_BLAKE001037           BOA_BLAKE001043
           1, 2011)
   57.     Letter Describing NPV      BOA_BLAKE000760           BOA_BLAKE000761
           Inputs (June 14, 2011)
   58.     Notice of Transfer of      BOA_BLAKE001018           BOA_BLAKE001021
           Servicing from BAC to
           BANA (July 1, 2011)
   59.     MHA Hold (August 30,       BOA_BLAKE001035           BOA_BLAKE001035
           2011)

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EXHIBI           DOCUMENT                 BEG. BATES RANGE          END BATES RANGE
 T NO.          DESCRIPTION
   60.     Letter from Borrower        BOA_BLAKE000762           BOA_BLAKE000762
           Requesting Modification
           (November 29, 2011)

   61.     HAMP Application            BOA_BLAKE000765           BOA_BLAKE000769
           (January 23, 2012)
   62.     Profit and Loss Statement   BOA_BLAKE000770           BOA_BLAKE000770
           (February 23, 2012)
   63.     Fee Disclosure Letter       BOA_BLAKE001022           BOA_BLAKE001022
           (March 17, 2012)
   64.     Loan Modification Denial    BOA_BLAKE000771           BOA_BLAKE000773
           Letter (March 21, 2012)
   65.     Foreclosure Notice and      Pl. Dep., Def.’s Ex. 27
           Reinstatement
           Calculation (April 3,
           2012)
   66.     Reinstatement               Pl. Dep., Def.’s Ex. 24
           Calculation (April 14,
           2012)
   67.     Payoff Demand               Pl. Dep., Def.’s Ex. 23
           Statement and
           Reinstatement
           Calculation (April 20,
           2012)
   68.     Loan Modification           BOA_BLAKE001023           BOA_BLAKE001024
           Review Letter (May 15,
           2012)
   69.     Loan Modification Denial    BOA_BLAKE001025           BOA_BLAKE001026
           Letter (May 15, 2012)
   70.     Letter Informing            BOA_BLAKE001027           BOA_BLAKE001027
           Borrower of Review of
           Request (June 7, 2012)
   71.     Foreclosure Notice and      BOA_BLAKE001028           BOA_BLAKE001029
           Payoff Demand (July 11,
           2012)
   72.     EDI Data                    BOA_BLAKE001032           BOA_BLAKE001034
   73.     HomeSaver Comments          BOA_BLAKE000774           BOA_BLAKE000784
           History
   74.     Loss Mitigation Home        BOA_BLAKE000785           BOA_BLAKE000823
           Base Work Action
           History
   75.     HomeSaver Workout           BOA_BLAKE000824           BOA_BLAKE000908
           Notes
   76.     Loan History                BOA_BLAKE000909           BOA_BLAKE000999

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EXHIBI            DOCUMENT                BEG. BATES RANGE             END BATES RANGE
 T NO.           DESCRIPTION
   77.     Min Summary                BOA_BLAKE001030              BOA_BLAKE001031
   78.     Borrower Federal and       BOA_BLAKE000195              BOA_BLAKE000215
           State Tax Returns (2009)
   79.     Borrower’s Checks in the   Pl. Dep., Def.’s Ex. 14
           amount of $991.69
   80.     Borrower’s Checking        Pl. Dep., Def.’s Ex. 25
           Account Statements
           (April 11, 2009 through
           June 10, 2009)
   81.     Borrower Credit Report     BOA_BLAKE000412              BOA_BLAKE000428
           (November 3, 2005)


         BANA reserves the right to rely on any exhibit identified on Plaintiff’s Exhibit List.

BANA also reserves the right to supplement its Exhibit List with any documents necessary for

impeachment or rebuttal.




This 14th day of December, 2012.



                                            /s/ Barry A. Brock
                                            Alan M. Warfield
                                            Barry A. Brock
                                            Attorneys for Defendant


OF COUNSEL:

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                          CERTIFICATE OF SERVICE

        I hereby certify that I have electronically filed the foregoing with the Clerk

of Court using the E-Filing/ECF system which will send notification of such filing

to the following:


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                                        /s/ Barry A. Brock
                                        ATTORNEY FOR DEFENDANT




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